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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                                Richmond Division
__________________________________________
JAMES HAYES, et al.,                        )
                                            )
                        Plaintiffs,         )
            v.                              )     Civil Action No. 3:14-cv-258-JAG
                                            )
DELBERT SERVICES CORPORATION, et al., )
                                            )
                        Defendants.         )
__________________________________________)

                  JOINT MOTION FOR ENTRY OF AN AGREED ORDER

       For the reasons stated herein and in the accompanying Memorandum, Plaintiffs, through

their attorneys of record, respectfully request that the Court enter the accompanying Proposed

Order (attached as Exhibit 1), to allow the third parties and the Defendants to comply with the

Order entered on June 29, 2016 (Dkt. No. 102), without further prejudice to Plaintiffs.

Specifically, they are asking the Court to enlarge the time for Plaintiffs to take the depositions

currently already schedule before the July 12, 2016 discovery response and production date and

as necessary to complete additional written discovery and notice depositions based upon new

information obtained in the July 12, 2016 production.

       The enlargement would also best accommodate a mid-July decision as to consolidation of

this case with the White, et al. v. Cashcall, Inc. matter.

       Defendants do not agree to the full relief sought herein, and would agree only to move

the currently noticed depositions until July 30, 2016 without the contemplation of any other

derivative discovery.



Dated: ____________ __, 2016                   Respectfully submitted,
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                                  JAMES HAYES, et al.
                                  By Counsel

                                  ____/s/_____________________________
                                  Kristi C. Kelly, Esq., VSB #72791
                                  Andrew J. Guzzo, VSB#82170
                                  KELLY & CRANDALL, PLC
                                  4084 University Drive, Suite 202A
                                  Fairfax, VA 22030
                                  (703) 424-7572
                                  (703) 591-0167 Facsimile
                                  Email: kkelly@kellyandcrandall.com
                                  Email: aguzzo@kellyandcrandall.com

                                  Leonard A. Bennett, VSB #37523
                                  Susan M. Rotkis, VSB #40639
                                  Craig C. Marchiando, VSB #89736
                                  CONSUMER LITIGATION ASSOCIATES, P.C.
                                  763 J. Clyde Morris Blvd, Suite 1A
                                  Newport News, Virginia 23601
                                   (757) 930-3660
                                  (757) 930-3662 Facsimile
                                  Email: lenbennett@clalegal.com
                                  Email: srotkis@clalegal.com


                                  Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of July 2016 I have electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification to all
counsel of record.

Joseph Barloon
Warren Thomas Allen, II
Jennifer Zoe Gindin
Clifford Sloan
Skadden Arps Slate Meagher & Flom LLP (DC)
1440 New York Ave NW
Washington, DC 20005-2111
joseph.barloon@skadden.com
wtallen@skadden.com
jennifer.gindin@skadden.com
cliff.sloan@skadden.com

Thomas Nolan
Skadden Arps Slate Meagher Flom LLP
300 S Grand Ave #3400
Los Angeles, CA 90071
Thomas.nolan@skadden.com

                                             ___/s/____________________
                                             Leonard A. Bennett, VSB #37523
                                             CONSUMER LITIGATION ASSOCIATES, P.C.
                                             763 J. Clyde Morris Blvd, Suite 1A
                                             Newport News, Virginia 23601
                                             (757) 930-3660
                                             (757) 930-3662 Facsimile
                                             Email: lenbennett@clalegal.com
                                                     Counsel for Plaintiffs




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